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          AO 199A (Rev. 3/87) Order Setting Conditions of Release




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                                           EASTERN                     DISTRICT OF                    CALIFORNIA
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                        UNITED STATES OF AMERICA

                                                                                     ORDER SETTING CONDITIONS
                                          v.                                                OF RELEASE


           C / -
           U S J&n
          2~
                                     Defendant
                                                      C;onl~/il
                                                                                 Case Number:




                   IT IS ORDERED that the release of the defendant is subject to the following conditions:

                       (1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
                            case.

                       (2) The defendant shall immediately advice the court. defense counsel and the U.S. attorney in writing of any
                           change in address and telephone number.

                        (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
                                                                                                                    COURTROOM
                            i m ~ o s e das directed. The defendant shall next appear at (if blank, to be notified)
U. S   . DlSTRICT COURT, JUDGE wm
                                                        d                                     Date and lime




                                             Release on Personal Recognizance or Unsecured Bond
                      IT IS FURTHER ORDERED that the defendant be released provided that:

           ( J ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence
                           imposed.

           (      )    (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
                                                                                                      dollars ($                         1
                           in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




  WHITE C O P Y   - COURT           YELLOW - D E F E N D A N T      B L U E - U.S. ATTORNEY   PINK - U.S. M A R S H A L     G R E E N - PRETRIAL S E R V I C E S
                   Case 1:06-cr-00071-LJO Document 24 Filed 03/22/06 Page 2 of 3
    GONZALES, Carlos
                                                                                 ' U
    Dkt. NO.06-00012M         ADDITIONAL CONDITIONS OF RELEASE

             Upon finding that release by oneoftheabovemethods will not by itself reasonably assuretheappearanceof thedefendant
    and the safety of other persons and the community, it is FURTHER ORDERED that the release of tbe defendant is subject to the
    conditions marked below:

    (X)       (6)        The defendant is placed in the custody of:

                         Name of person or organization Cindy Gonzales


    who agrees (a) to supervise the defendant in accordance with all conditions of release,
    (h) to use every effort to assure the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court
    immediately in the event the defendant violates any conditions of release or disappears.




    (X)       (7)        The defendant shall:
              (x1        (a)       maintain or activelv seek en~~lovment.             with a non-family member, and provide proof thereof to the PSO. uuon request.
.             ( )        (b)       maintain or commence an educational program.
              (x1        (c)       abide by the following restrictions on his personal associations, place of abode, or travel:
                                   Rsstds dl 3 rcridrncc apnro\cd hv thc PSO. m d not mor s or bs absent irum t h ~ .r:\idcnce ior more than 24 hr\ u~thout
                                   prior aoprob~lolPSO: lr3\d r:str~cted tothe I.'ast:m Divir~;IufCalilbm~x~nlessotherui\c~puro\ed                                 i n a d b ~ n c hc    m
              (XI        (d        ~ o . d a I I c u n r ~ uc tnth the ti~lluuinz named perrons. uhoarecons~dcrcdc~thrrallered\ ictimsor~11tcnl131                    u itnesses. St:, :n
                                   Michael Perrv and JuanitaMaria Waters, unless in the uresenee of counsel or otherwise amroved in advance bv thc PSO.
              (X         (4        report on a regular basis to the following agency:
                                   Pretrial Services and comply with their rules and regulations.
              ( 1        (fl      comply with the following curfew:
              (1         (9)       refrain from possessing a firearm, destructive device, or other dangerous weapon.
              1x1        (nl       ~ f r o n 1 e ~ c s s s 1 ~ e u ~ c ~ ~ i ~ 1 ; ouseor    h ~ I ~. m
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                                  defined in 2 I IJSC' $802 unless prescr~bedby 3 i~ccn.sJ mediea~~ r a ~ t ~ t i o r ~ e ~nudicinolmariiuono.          I~~wr~~r,               res scribed
                                  o r not, mav not be used
                                  you shall report any prescri~tionsto the PSO within 48 hours of receipt..
                                  executed a bond or an aereement to forfeit upon failine to appear or failure to abide by any of the conditions of release.
                                  the following sum of monev or designated orouerty: An-ro~ertv                                    bond. secured by eauiw in property owned b
                                  Alfredo &Cindy Gonzales, in Lake lsabella, C A $
                                  you shall submit to drug andlor alcohol testine as directed by t e PSO
                                                                                                           77i5~0.                                                        S+  ,,&-
                                  execute a bail bond with solvent sureties in the amount of $
                                  return to eustody each (week)day as of o'elock after being released each (week)day as of o'cloek for employment,
                                   schooling, or the following limited purposc(s):
                                   surrender any passport to the Clerk, United States District Court.
              . .        ..                      . .               . .
                                   obtain no ~assoortdurine the ~ e n d e n c vof this case.
                                   repun .n wrwn to the Pretrial Sen ~ c e sAeene! on the fir4 wurklnr da) t o l . o u i ~ ~tllur                 g re.c~seirom e ~ s t u d \
              (S I       (PI
              ( I        (q)       pnnic~p~teinoneoilhei~~ll~~w~n~humeconline~nenlprogrvn                       w m p o n c n t ~ m d3hlde hy al.thcrc~u~remcntiof            lhe program
                                   which ( ) will or ( ) will not include electronic monitoring or other loeation verification system.
                                   ( ) (i) Curfew. You are rcstrictcd to your residence ever) day ( )from                                                ,ot                         or
                                                   ( ) as directed by the Pretrial Services officc or supervising officer; or
                                  ( ) (ii) Home Detention. You are restricted to your residenee at all times except for employment; education;
                                                   religious serviccs; or mental hcalth treatment; attorney visits; court appearauees; court-oraered obligations;
                                                   or other activities as pre-approvcd by the Pretrial Services office or supcwising officer; or
                                  ( ) (iii) Home Incarceration. You are restricted to your residence at all times except for medical needs or treatment,
                                                  religious serviccs, and court appearances pre-approved by the Prctrial Services office or supervision officer.




    (Copies to: Defendanr, US Atlomey, US Marshal, Prctrial Scrviccs)
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            TO THE DEFENDANT:
                YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

 *               A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest,
.....       a revocation of release, an order of detention, and a prosecution for contempt of court and couId result in a term of imprisonment.
     .: ;   a fine, or both.
                 The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of
            not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
            misdemeanor. This sentence shall be in addition to any other sentence.
                 Federal law makes it a crime punishable by up to five years of imprisonment, and a $250,000 fine or both to intimidate or
     "      attempt to intimidate a witness, victim, juror, informant or ofticer of the court, or to obstruct a criminal investigation. It is also
      P.    a crime punishable by up to ten years of imprisonment, a $250,000 fine or both, to tamper with a witness, victim or informant,
            or to retaliate against a witness, victim or informant, or to threaten or attempt to d o so.
                 If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence.
            you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
                 (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be
                      fined not more than $250,000 or imprisoned for not more than ten years, or both;
                 (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined
                      not more than $250,000 or imprisoned for not more than five years, or both;
                 (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
                 (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
                 A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.
            In addition, a failure to appear may result in the forfeiture of any bond posted.

                                                                   Acknowledgement of Defendant
                1 acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
            conditions of release, to appear as directed, and to surrender for service of any sentence imposed. 1 am aware of the penalties
            and sanctions set forth above.




                                                                                             F              ~                   -
                                                                                                                Signature of Defendant

                                                                                                                       Address

                                                                                                   -
                                                                                               / City and state\                             Tele~hone




                  /                                            Directions to United States Marshal
            (&The     defendant is ORDERED released after processing.
            ( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial offtcer that
                 the defendant has posted bond andlor complied with all other conditions for release. The defendant shall be produced before
                                                                                if still in custody.
                  Date:
                                                                                                        -ture              of Judicial Officer



                                                                                                         Name and Title of ~udiciarofficer

                                                                                                   u5 mL' &ys3.Ae S u b
                      -
            WHITE COPY COURT            YELLOW - D E F E N M N T          BLUE   - U.S. AlTORNEY       PINK- U.S. MARSWL              GREEN -PRETRIAL SERVICES
